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 Exhibit 3: Government’s Exhibit List
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
   __________________________________________
                                              :
                                              :
   UNITED STATES OF AMERICA                   :
                                              :
         v.                                  :  Case No. 1:19-CR-00125 (ABJ)
                                             :
   GREGORY B. CRAIG,                         :
                                             :
               Defendant.                    :
                                             :
   __________________________________________:

                             GOVERNMENT’S EXHIBIT LIST


Exhibit #    Date            Description                 Bates Number          Objection
   1      12/18/2012 Letter from Hunt to Yaffa      USA-00021397-00021421   No Objection
   2       2/6/2013 Letter from Craig to Hunt       USA-00000091-00000142   No Objection
   3       4/9/2013 Letter from Hunt to Craig       USA-REL-0304839-        No Objection
                                                    0304841
   4       6/3/2013    Letter from Craig to Hunt    USA-REL-0159226-        No Objection
                                                    0159241
   5       9/5/2013    Letter from Hunt to Craig    USA-REL-0304852-        No Objection
                                                    0304853
   6       9/19/2013   Email; FARA                  USA-REL-0201346         No Objection
   7       9/20/2013   Email; First draft of a      USA-REL-0337507-        No Objection
                       response to FARA             0337510
   8       9/24/2013   Draft of Letter to FARA      USA-REL-0201350 -       Completeness
                       Division in the Department   0201352
                       of Justice
   9                   Document History Report      USA-REL-0237374         Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
   10                  Document History Report                              Lacks
                                                    USA-REL-0237370         Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
   11      9/26/2013 Letter from Craig to Hunt      USA-00000090            No Objection
   12     10/10/2013 Letter from Craig to Hunt      USA-00000087-00000088   No Objection
   13      1/16/2014 Letter from Hunt to Craig      USA-REL-0201303         No Objection
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Exhibit #     Date           Description                 Bates Number          Objection
   14         ND        OMB NO 1124-0001             USA-00021350-00021356   FRE 401, 403
                        FORM NSD-1
   15          ND       OMB NO. 1124-0002            USA-00021357-00021366   FRE 401, 403
                        FORM NSD-2
   16          ND       OMB NO 1124-0006             USA-00021367-00021368   FRE 401, 403
                        FORM NDS-3
   17          ND       OMB NO. 1124-0004            USA-00021369-00021370   FRE 401, 403
                        FORM NSD-4
   18          ND       OMB NO. 1124-0003            USA-00021371-00021372   FRE 401, 403
                        FORM NSD-5
   19          ND       OMB NO. 1124-0005            USA 00021373-00021374   FRE 401, 403
                        FORM NSD-6


   25        2/9/2012   Email; New business          USA-REL-0000409         No Objection
   26       2/10/2012   Email; New Business          USA-REL-0341447-        Hearsay
                        prospect: Ukraine            0341448
   27       2/10/2012   Email; Yulia Tymoshenko      USA-REL-0157949         Completeness
   28       2/13/2012   Email; RE: Yulia             USA-REL-0157963         No Objection
                        Tymoshenko
   29       2/13/2012   Email; RE: Yulia             USA-REL-0157981         Completeness
                        Tymoshenko
   30       2/13/2012   Email; RE: Yulia             USA-REL-0157960-        No Objection
                        Tymoshenko                   0157961
   31       2/13/2012   Email; RE: Yulia             USA-REL-0157956-        No Objection
                        Tymoshenko                   0157957
   32       2/13/2012   Email; Ukraine -             USA-REL-0176754-        No Objection
                        Application of the Foreign   0176779
                        Agents Registration Act of
                        1938 (FARA)
   33       2/20/2012   Email; Draft Retainer        USA-REL-0110363-        Completeness
                        Agreement                    0110371
   34       2/20/2012   Email; Retainer letter       USA-REL-0000411-        Completeness
                                                     0000422
   35       2/28/2012   Email; Anything new          USA-REL-0110384         Completeness
   36       2/28/2012   Email; RE: Are you free to   USA-REL-0000435         No Objection
                        talk
   37        3/1/2012   Email; Re: Retainer letter   USA-REL-0000436         No Objection
   38        3/6/2012   Email; Re: Retainer letter   USA-REL-0000450-        No Objection
                                                     0000451
   39        3/6/2012   Email; Retainer letter and   USA-REL-0000447-        No Objection
                        Next Steps                   0000449



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Exhibit #      Date            Description                  Bates Number      Objection
   40       3/17/2012   Email; RE: Good time to         USA-REL-0000459    No Objection
                        catch up today
   41       3/19/2012   Email; Re: Money                USA-REL-0000463    No Objection
   42       3/20/2012   Email; Re: Dates for trip       USA-REL-0000472-   No Objection
                                                        0000474
   43       3/22/2012   Email; Re: Meeting              USA-REL-0008100    No Objection
                        tomorrow
   44       3/23/2012   Calendar; Paul Manafort         USA-REL-0336965    No Objection
                        Mtg
   45        4/3/2012   Email; RE: Report of the        USA-REL-0043217-   Hearsay, Lack of
                        temporary investigative         0043218            First-Hand
                        commission chaired by                              Knowledge, FRE
                        Inna Bogoslovskaya                                 401, FRE 402
   46        4/5/2012   Document; Notes of              USA-REL0160995     No Objection
                        meetings
   47        4/5/2012   Email; Re [] Press Release      USA-REL-0177315-   No Objection
                                                        0177316
   48        4/5/2012   Email; Re [] Press Release      USA-REL-0177311-   No Objection
                                                        0177312
   49        4/5/2012   Email; Re [] Press Release      USA-REL-0177308-   No Objection
                                                        0177310
   50        4/5/2012   Email; Re [] Press Release      USA-REL-0177317    No Objection
   51        4/5/2012   Email; Re: Got a good           USA-REL-000647     No Objection
                        report
   52        4/5/2012   Email; Re: Tomorrow -           USA-REL-0027690    No Objection
                        Friday 4/6
   53        4/6/2012   Email; Re: Tomorrow -           USA-REL-0158092-   No Objection
                        Friday 4/6                      0158093
   54        4/7/2012   Email; Re: Tomorrow -           USA-REL-0027698-   No Objection
                        Friday 4/6                      0027700
   55       4/10/2012   Email; Procurator General       USA-REL-0008265    No Objection
                        wants us there
   56       4/11/2012   Email; Re:                      USA-REL-0158098    No Objection
   57       4/11/2012   Email; Re: Kuzmin on            USA-REL-0043806-   No Objection
                        New charges against Tymo        0043811
   58       4/11/2012   Email; Re: Urgent Problem       USA-REL-0000668-   Completeness
                                                        0000671
   59       4/11/2012   Email; Re: Urgent Problem       USA-REL-0000664    No Objection
   60       4/12/2012   Email; Re: Confirmation         USA-REL-0000663    No Objection
   61       4/13/2012   Email; Re: Ukraine Project      USA-REL-0177816    No Objection
   62       4/13/2012   Email; Re: Ukraine Project      USA-REL-0192490    No Objection
   63       4/16/2012   Email; Re: re Ukraine wire      USA-REL-0177876-   FRE 401, FRE
                                                        0177877            403

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Exhibit #      Date            Description                  Bates Number      Objection
   64       4/16/2012   Email; FARA issues             USA-REL-0177874-    No Objection
                                                       0177875
   65       4/17/2012   Email; FARA issues             USA-REL-0027381     Hearsay,
                                                                           Completeness
   66       4/17/2012   Email; FARA issues             USA-REL-0046192     No Objection
   67       4/17/2012   Email; FW: Ukraine -           USA-REL-0163015-    No Objection
                        Application of the Foreign     0163017
                        Agents Registration Act of
                        1938 ("FARA") PROPER
                        ATTACHMENTS
   68       4/17/2012   Email; RE: FARA Issues         USA-REL-0045044     No Objection
   69       4/17/2012   Email; Re: FARA issues         USA-REL-0113037-    Completeness
                                                       0113038
   70       4/17/2012   Email; Re: FARA issues         USA-REL-0111929-    Completeness
                                                       0111930
   71       4/17/2012   Email; FARA issues             USA-REL-0111932-    No Objection
                                                       0111933


  100       4/19/2012   Email; PR Issues               USA-REL-0168280     Completeness
  101       4/23/2012   Ukraine Status Report          USA-REL-0046960     No Objection
  102       4/27/2012   Email; PR Firms                USA-REL-0047010     No Objection
  103       4/30/2012   Email; FW: Ukraine -           USA-REL-0027382-    No Objection
                        Application of the Foreign     0027384
                        Agents Registration Act of
                        1938 ("FARA") PROPER
                        ATTACHMENTS
  104       4/30/2012   Email; RE: 1230 at Hay         USA-REL-0000712     No Objection
                        Adams
  105       4/30/2012   Email; FW: PR Firms            USA-REL-0000711     Objection to A.
                        [Redacted]                                         Manafort
                                                                           reference
  106        5/1/2012   Email; RE: Confidential:       USA-REL-0341095     Completeness
                        Prospective client
  107        5/3/2012   Email; Meeting Notes:          USA-REL-0114889-    No Objection
                        5/2/12                         0114893

  108        5/3/2012   Email; Re: Action Item         USA-REL-0000730-    No Objection
                                                       0000733
  109        5/3/2012   Email; Investigation of        USA-REL-0114885-    FRE 401, FRE
                        Tymo allegations of            0114888             403
                        "beating"


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Exhibit #      Date            Description                 Bates Number      Objection
  110        5/3/2012   Email; RE: Investigation of    USA-REL-0047088     FRE 401, 403
                        Tymo allegations of
                        "beating"
  111        5/3/2012   Email; Resolving Letter        USA-REL-0000722-    No Objection
                        Agreement Issue                0000729
  112        5/7/2012   Email; PR Update               USA-REL-00047232-   Completeness
                                                       00047234
  113        5/7/2012   Email; RE: Tymo                USA-REL-0047212     Completeness
  114        5/7/2012   Email; RE: Tymo                USA-REL-0027354     No Objection
  115        5/9/2012   Email; RE:                     USA-REL-0027792     Completeness,
                                                                           FRE 401, FRE
                                                                           403
  116       5/10/2012   Email; RE: Kiev                USA-REL-0341033-    Completeness
                                                       0341036
  117       5/10/2012   Email; FTI                     USA-REL-0000769     Completeness
  118       5/11/2012   Email; Confidential:           USA-REL-0341125     No Objection
                        Project Veritas contract
  119       5/12/2012   Email; Ukraine                 USA-REL-0341414-    No Objection
                                                       0341415
  120       5/14/2012   Email; Re: Veritas Media       USA-REL-0346831     FRE 401, FRE
                        1.doc                                              403
  121       5/15/2012   Email; Tymo -- your plans      USA-REL-0348634-    No Objection
                                                       0348637
  122       5/15/2012   Email; The Ministry of         USA-REL-0158406     No Objection
                        Justice, Government of
                        Ukraine
  123       5/18/2012   Email; Project Veritas         USA-REL-0347003-    No Objection
                                                       00347004
  124       5/22/2012   Email; Letter to Mr.           USA-REL-0170204-    No Objection
                        Vlasenko and Ms.               0170206
                        Tymoshenko delivered
  125       5/22/2012   Email; Re: Hostile US-         USA-REL-0342221-    FRE 401, FRE
                        based blogger                  0342224             403, Hearsay
  126       5/22/2012   Email; Re: Delivery of         USA-REL-0000841-    No Objection
                        letter to Vlasenko             0000842
  127       5/22/2012   Email; Re: Press               USA-REL-0348566-    No Objection
                        statements                     0348570
  128       5/22/2012   Email; Re: Press               USA-REL-0345061-    Completeness
                        statements                     0345066
  129       5/22/2012   Email; Re: Press               USA-REL-0348047-    No Objection
                        statements                     0348052
  130       5/22/2012   Email; Re: Press               USA-REL-0349988-    Completeness
                        statements                     0349994


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Exhibit #      Date            Description                 Bates Number      Objection
  131       5/22/2012   Email; Re: Press              USA-REL-0115565-    No Objection
                        statements                    00115568
  132       5/22/2012   Email; Re: Press              USA-REL-0346816     No Objection
                        statements
  133       5/23/2012   Email; Re: Press              USA-REL-0115733-    Completeness
                        statements                    0115739


  149       5/24/2012   Email; FW:                    USA-REL-0000876-    Completeness
                                                      0000889
  150       5/24/2012   Email; Re: Letter             USA-REL-0008393     No Objection
                        Agreement
  151       5/29/2012   Email; Re: Ukraine            USA-REL-0341345-    Completeness
                        engagement                    0341348
  152       5/29/2012   Email; Re: Ukraine            USA-REL-0341349-    No Objection
                        engagement                    0341352
  153        6/1/2012   Email; Re: Next week          USA-REL-0171329-    FRE 401, FRE
                                                      0171330             403
  154        6/5/2012   Email: RE: Letter             USA-REL-0171488-    No Objection
                                                      0171490
  155        6/6/2012   Email: Ukraine update         USA-REL-0344307     No Objection
  156        6/6/2012   Email: Re: getting together   USA-REL-0000890-    Completeness,
                        [Redacted]                    0000892             Objections to A.
                                                                          Manafort
  157        6/7/2012   Email; Tymo - FTI Call        USA-REL-0171740     No Objection
  158       6/11/2012   Email; Re: Schedule for       USA-REL-0171872-    No Objection
                        the Week                      0171873
  159       6/12/2012   Email; Bloomberg:             USA-REL-0213844     Hearsay
                        (Skadden mentioned)
  160       6/14/2012   Email; RE: Project 2          USA-REL-0172187     No Objection
  161       6/15/2012   Email; []                     USA-REL-0348605-    No Objection
                                                      0348613
  162       6/21/2012   Email: FW: Project Two        USA-REL-0172567     FRE 401, FRE
                                                                          403
  163       6/21/2012   Email: Re: Project Two        USA-REL-0172558-    FRE 401, FRE
                                                      0172559             403
  164       6/21/2012   Email: FW: Application of     USA-REL-0180790-    No Objection
                        the Foreign Agents            0180792
                        Registration Act of 1928
                        ("FARA") PROPER
                        ATTACHMENTS
  165       6/22/2012   Email; Re ??????????? 95      USA-REL-0000914     FRE 401, FRE
                        ???????????                                       403
  166       6/24/2012   Email; Legal Report           UUSA-REL2-0003962   No Objection

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Exhibit #      Date            Description                  Bates Number      Objection
  167       6/25/2012   Email; RE: Vlasenko            USA-REL-0050383     No Objection
  168       6/26/2012   Email: FW: Statute request     USA-REL-0155041-    FRE 401, FRE
                                                       0155101             403,
                                                                           Completeness
  169       6/26/2012   Email: RE: WSJ article         USA-REL-0181065-    FRE 401, FRE
                                                       0181067             403
  170        7/2/2012   Email; RE: Tymoschenko         USA-REL-0158609     No Objection
  171        7/9/2012   Email; FTI                     USA-REL-0051030     No Objection
  172       7/10/2012   Email; Re: Tymo Project 2      USA-REL-0172966-    FRE 401, FRE
                        Meetings                       0172968             403
  173       7/12/2012   Email; PK: Vin Weber,          USA-REL-0162978-    No Objection
                        Top Romney Advisor,            0162980
                        Lobbying for Ukraine
                        Group
  174       7/13/2012   Email; Plan                    USA-REL-0350561-    No Objection
                                                       0350574
  175       7/14/2012   Email; FW: Project One         USA-REL-0165328-    FRE 401, FRE
                        Report                         0165329             403
  176       7/14/2012   Email; Project Veritas -       USA-REL-0351221     No Objection
                        Communcations Strategy
  177       7/15/2012   Email; Re: update today        USA-REL-0000919     No Objection
  178       7/15/2012   Email; Team Ukraine            USA-REL-0124934-    No Objection
                        Status                         0124936
  179       7/16/2012   Email; Schedule for            USA-REL-0165378-    No Objection
                        upcoming Kyiv trip             0165379
  180       7/18/2012   Email; PR on Project One       USA-REL-0223827     No Objection
  181       7/18/2012   Email; Ukraine Update          USA-REL-0200242     No Objection
  182       7/20/2012   Email; Kiev Update             USA-REL-0125726-    No Objection
                                                       0125741
  183       7/25/2012   Email; Re: free to talk        USA-REL-0008582     No Objection
  184       7/27/2012   Email; Draft Report            USA-REL-0008596-    No Objection
  185       7/27/2012   Email; Re: Draft Report        USA-REL-0008592-    No Objection
                                                       0008593
  186       7/27/2012   Email; Re: info needed for     USA-REL-0194847-    No Objection
                        Ukraine                        0194848
  187       7/27/2012   Email; Changes                 USA-REL-0008591     No Objection
  188       7/27/2012   Email; Re: Changes             USA-REL-0008589     No Objection
  189       7/28/2012   Email; Media Plan              USA-REL-0348576-    No Objection
                                                       0348580
  190       7/29/2012   Email; Report: The             USA-REL-00053856    No Objection
                        Tymoshenko Case



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Exhibit #      Date             Description                Bates Number     Objection
  200       7/30/2012   Email: RE: Language            USA-REL-0000924    Completeness
                        Issues
  201       7/31/2012   Email; Re: Conclusions /       USA-REL-0184297-   Completeness
                        incarceration                  0184298
  202       7/31/2012   Email; Re: Conclusions /       USA-REL-0184266-   No Objection
                        incarceration                  0184269
  203        8/1/2012   Email; New Draft               USA-REL-0000927    No Objection
  204        8/1/2012   Email; RE: Slattery            USA-REL-0193673-   No Objection
                                                       109674
  205        8/3/2012   Email; Manafort is seeing      USA-REL-0136184    Completeness
                        BG on Wednesday
  206        8/3/2012   Email; Project One Report      USA-REL-0009382    No Objection
                        - The Tymoshenko Case
  207        8/5/2012   Email; Draft plan              USA-REL-0351144-   No Objection
                                                       0351191
  208        8/7/2012   Email; Tymo report -           USA-REL-0136194    No Objection
                        action points and questions
  209        8/9/2012   Email; Kyiv Post Editorial:    USA-REL-0176355    Completeness
                        Skadden Sting
  210        8/9/2012   Email; RE: Kyiv Post           USA-REL-0136202-   No Objection
                        Editorial: Skadden Stink       0136203
  211       8/10/2012   Email; Ukraine Payment         USA-REL-0184954    No Objection
  212       8/13/2012   Email; Ukraine disclosure      USA-REL-0185184    No Objection
                        idea
  213       8/13/2012   Email; Re: Call                USA-REL-0341944-   Hearsay
                                                       0341945
  214       8/14/2012   Email: Re: VP or MOJ           USA-REL-0001239    No Objection
  215       8/14/2012   Email; Fw: Call                USA-REL-0348582-   FRE 401, FRE
                                                       0348583            403
  216       8/22/2012   Email; Here is the letter re   USA-REL-0009993-   No Objection
                        fees                           0009995
  217       8/22/2012   Email; Re: Here is the         USA-REL-0001271-   MIL
                        letter re fees                 0001273            Procurement
  218       8/22/2012   Email; Re: Here is the         USA-REL-0009991    MIL
                        letter re fees                                    Procurement
  219       8/23/2012   Email; Letter to MOJ           USA-REL-0005669-   MIL
                                                       0005670            Procurement
  220       8/24/2012   Email; Fw: Update              USA-REL-0342746    No Objection
  221       8/28/2012   Email; FW:                     USA-REL-0143608-   No Objection
                                                       0143625
  222       8/29/2012   Email; Re: Ukraine             USA-REL-0343574-   FRE 401, FRE
                                                       034575             403


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Exhibit #       Date              Description                Bates Number       Objection
  223        8/29/2012   Email; Time to talk re.        USA-REL-0187258-     No Objection
                         MOJ report?                    0187259
  224        8/30/2012   Email; Re: Work Schedule       USA-REL-0144020-     No Objection
                         to finalize report             0144022
  225        8/30/2012   Email; Re: Work Schedule       USA-REL-0006015-     No Objection
                         to finalize report             0006016
  226        8/30/2012   Email; Re: Project 2           USA-REL-0144052-     No Objection
                                                        0144053
  227        8/30/2012   Email; Memo for Manafort       USA-REL-0344875      No Objection
  228         9/3/2012   Manafort to Craig; subj:                            No Objection
                         URGENT: Actions this           USA-REL-0006051
                         week - Wrapping up
  229         9/5/2012   Email; Ukraine                 USA-REL-0350232      No Objection
  230        9/10/2012   Email; Re:                     USA-REL-0006093      No Objection
  231        9/11/2012   Email; Document                USA-REL-0342368      No Objection
  232        9/12/2012   Email; Updates                 USA-REL-0348008      No Objection
  233        9/12/2012   Email; MY COMMENTS             USA-REL-0344423 +    No Objection
                                                        attachments
  234        9/17/2012   Email; Document                USA-REL-0345529      No Objection



  250        9/13/2012   Email; FTI PLAN FOR            USA-REL-0007062-66   No Objection
                         RELEASE
  251        9/18/2012   Email; meeting today           USA-REL-0007075      Completeness
  252        9/19/2012   Email; FW: Here                USA-REL-0148186-     No Objection
                                                        0148191
  253        9/21/2012   Email; meeting on Sunday       USA-REL-0350747      Hearsay
  254        9/23/2012   Email; Documents               USA-REL-0019487-     No Objection
                                                        0019559
  255        9/23/2012   Email; Points coming out       USA-REL-0082763      No Objection
                         of today's meeting in NY
  256        9/23/2012   Email; Meeting tomorrow        USA-REL-0029796      Hearsay,
                         morning                                             Completeness
  257        9/23/2012   Email; Meeting tomorrow        USA-REL-0344296      No Objection
                         morning
  258        9/24/2012   Email; Re: Notes from          USA-REL-0347958-60   No Objection
                         yesterday
  259        9/24/2012   Email; Ukraine                 USA-REL-0149306      No Objection
  260        9/24/2012   Email; Question re Release     USA-REL-0029800      Completeness
                         Planning in Ukraine
  261        9/24/2012   Email; Backgrounding           USA-REL-0019650      No Objection
                         journalists

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Exhibit #       Date            Description               Bates Number         Objection
  262        9/24/2012   Email; Re: Question re       USA-REL-0029798       No Objection
                         Release Planning in
                         Ukraine
  263        9/24/2012   Email; Re: Backgrounding     USA-REL-0019649       No Objection
                         Journalists
  264        9/24/2012   Email; Re: Backgrounding     USA-REL-0019648       No Objection
                         Journalists
  265        9/24/2012   Email; Two Problems          USA-REL-0149233       Completeness
  266        9/24/2012   Email; Re: Two problems      USA-REL-0150940       No Objection
  267        9/25/2012   Email; Re: Draft             USA-REL-0007508-      No Objection
                         messaging                    0007510
  268        9/25/2012   Email; FW: Email from        USA-REL-0149958-      No Objection
                         Greg Craig                   0149959
  269        9/25/2012   Email; FW Email from         USA-REL-0150943       No Objection
                         Greg Craig
  270        9/25/2012   Email; Re: Meeting and       USA-REL-0342809       No Objection
                         Items
  271
  272        9/25/2012   Email; Re: Point 5        USA-REL-0346747          No Objection
  273        9/26/2012   Email; Meeting Agenda     USA-0016371-0016372      Completeness
  274        9/27/2012   Email; PJM Outline of     USA-REL-0346213-         Hearsay
                         Findings                  0346216
  275        9/28/2012   Email; Greg               USA-REL-0344436          No Objection
  276        9/30/2012   Email; Re: Document       USA-REL-0341948-         No Objection
                                                   0341958
  277        9/30/2012   Email; Wave 2             USA-REL-0342832          No Objection
  278        10/1/2012   Calendar; ECFMU/Ukraine USA-REL2-0017111-12        No Objection
                         Call with attachment DC
                         Consultants Plan 9-28-
                         1012.xlsx
  279        10/2/2012   Email; Fw: another set of USA-REL-0151623          No Objection
                         comments                  (email), USA-REL-
                                                   0151624-0151626
                                                   (Attachment), USA-REL-
                                                   0151627-0151630
                                                   (Attachment)
  280        10/2/2012   Email; Re: Master Grid    USA-REL-0344302-         No Objection
                                                   0344306
  281        10/2/2012   Email; Matrix - Actions   USA-REL-0347947-         No Objection
                                                   0347948
  300        10/2/2012   Email; David Sanger (NY   USA-REL-0193917          No Objection
                         Times)
  301        10/2/2012   Email;                    USA-REL-0193916          No Objection

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Exhibit #      Date             Description                 Bates Number         Objection
  302        10/2/2012   Email; Re: Ukraine            USA-REL-0160104        No Objection
  303        10/3/2012   Email; Fw: Ukraine            USA-REL-0193922        No Objection
  304        10/3/2012   Email; Fw: UKraine            USA-REL-0193921        No Objection
  305        10/3/2012   Email; Fwd: MCG               USA-REL-0344042-       No Objection
                                                       0344046
  306        10/3/2012   Document; Skadden             USAODC-000003-000005   Lack of
                         Report Roll Out Plan by                              Foundation, FRE
                         Mercury/Clark &                                      401, FRE 403,
                         Weinstock                                            Hearsay
  307        10/3/2012   Email; Re: Call number for    USA-REL-0191404        No Objection
                         [] roundtable at 3pm 202-
                         296-9312
  308        10/5/2012   Email; update                 USA-REL-0346167        FRE 401, FRE
                                                                              403
  309        11/8/2012 Email; Confidential:            USA-REL-0344763-       FRE 401, FRE
                       Ukraine Assistance              0344765                403
  310       11/19/2012 Email; Your final issues        USA-REL-0007604        No Objection
  311       11/20/2012 Email; Timing of Delivery       USA-REL-0007606        MIL
                                                                              Procurement
  312       11/26/2012 Email; Re: Report               USA-REL-0366346-       No Objection
                                                       0366441
  313       11/28/2012 Email; Greg's Memo              USA-REL-0020062-       No Objection
                                                       0020067
  314       11/30/2012   Email; Rick Gates call        USAODC-000006          Hearsay
  315       11/30/2012   Email; The Report             USA-REL-0020091        No Objection
  316        12/6/2012   Email; Project Veritas        USA-REL-0029942        No Objection
  317        12/6/2012   Email; Updated docs           USA-REL-0366688-       No Objection
                                                       0366781
  318        12/6/2012   Email; Docs                   USA-REL-0366782        No Objection
  319        12/6/2012   Email; Jonathan Hawker -      USA-REL-0193987        No Objection
                         011 44 7979 907000
  320        12/6/2012   Email; report release date    USA-REL-0191850        No Objection
  321        12/6/2012   Email; report release date    USA-REL-0038263        No Objection
  322        12/6/2012   Email; Phase One media        USA-REL-0366783-       No Objection
                                                       0366784
  323        12/6/2012   Email; Updated docs           USA-REL-0365631        No Objection
  324        12/7/2012   Email; [blank]                USA-REL-0038268        Hearsay, FRE
                                                                              401, FRE 403
  325        12/7/2012   Email; Call with Vin          USA-REL-0193988        No Objection
                         Weber today
  326        12/7/2012   Email; Did Rick Gates         USA-REL-0159064        FRE 401, FRE
                         reach you?                                           403


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Exhibit #    Date           Description                     Bates Number      Objection
  327     12/10/2012 Email; Master Grid               USA-REL-0366916 +    No Objection
                                                      attachment
  328     12/10/2012 Email; Journalist contact        USA-REL-0365739      No Objection
                     details needed
  329     12/11/2012 Email; In reception              USA-REL-0366918      No Objection
  330     12/11/2012 Email; Contact List              USA-REL-0038286-     FRE 401, FRE
                                                      0038288              403
  331     12/11/2012   Email; Update                  USA-REL-0020098      No Objection
  332     12/11/2012   Email; Greg Craig              USA-REL-0029969      No Objection
  350     12/11/2012   Email; Ukraine                 USA-REL-0160113      No Objection
  351     12/11/2012   Email; Ukraine                 USA-REL-0029972      No Objection
  352     12/11/2012   Email; Ukraine                 USA-REL-0160111-     No Objection
                                                      0160112
  353     12/11/2012 Email; Ukraine                   USA-REL-0159068-     No Objection
                                                      0159069
  354     12/11/2012 Email; Ukraine                   USA-REL-0160114-     No Objection
                                                      0160115
  355     12/11/2012 Email; Report on the             USA-REL-0161002      No Objection
                     Tymoshenko case
  356     12/11/2012 Email; Ukraine             USA-REL-0159066-           No Objection
                                                0159067
  357     12/11/2012 Email; Electronic Delivery USA-REL-0159065            No Objection
  358     12/11/2012 Email; Sanger conversation USA-REL-0194869            Completeness
  359     12/11/2012 Email; Sanger conversation USA-REL-0160998            No Objection
  360     12/11/2012 Email; Electronic delivery USA-REL-0029971            No Objection
  361     12/11/2012 Email; Re: Warsaw          USA-REL-0038299            No Objection
  362     12/11/2012 Email; Report on the       USA-REL-0194866            No Objection
                     Tymoshenko case
  363     12/12/2012 Email; Ukraine             USA-REL-0366783-           No Objection
                                                0366784
  364     12/12/2012 Email; Hawker to Craig;    USA-REL-0193997            No Objection
                     subj: First journalist
  365     12/12/2012 Email; Gianotti to Gates et      USA-REL-0365859      FRE 401, FRE
                     al; subj: Greg's Details for                          403
                     ANSA
  366     12/12/2012 Email; Report on the             USA-REL-0160123      No Objection
                     Tymoshenko case
  367     12/12/2012 Email; Report on the             USA-REL-0160124      No Objection
                     Tymoshenko case
  368     12/12/2012 Email; Report on the             USA-REL-0194880      No Objection
                     Tymoshenko case



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Exhibit #    Date            Description                   Bates Number      Objection
  369     12/12/2012 Email; On Behalf of Greg         USA-REL-0152360-    No Objection
                     Craig - The Tymoshenko           0152663
                     Case
  370     12/12/2012 Email; Sanger received the       USA-REL-0194887     No Objection
                     pdf of the report
  371     12/12/2012 Email; Daily Telegraph -         USA-REL-0194883     No Objection
                     quotes approval - pls
                     confirm receipt
  372     12/12/2012 Email; Ukraine story -           USA-REL-0367342-    No Objection
                     please confirm receipt           0367347
  373     12/12/2012 Email; Report on the             USA-REL-0194874-    No Objection
                     Tymoshenko case                  0194875
  374     12/12/2012 Email; Daily Telegraph -         USA-REL-0191884-    No Objection
                     quotes approval - pls            0191886
                     confirm receipt
  375     12/12/2012 Email; Times                     USA-REL-0029981     No Objection
  376     12/12/2012 Email; hello and questions,      USA-REL-0160119-    No Objection
                     from NYT Moscow                  0160120
  377     12/12/2012 Email; Ukraine                   USA-REL-0161012     No Objection
  378     12/12/2012 Email; Ukraine                   USA-REL-0161000     No Objection
  379     12/12/2012 Email; quote re political        USA-REL-0161011     No Objection
                     motivation
  380     12/12/2012 Email; Release time              USA-REL-0161010     No Objection
  381     12/13/2012 Email; Heads up on               USA-REL-0201013     No Objection
                     Ukraine
  382     12/13/2012 Email; Press contact for         USA-REL-0194003     No Objection
                     Ukraine/MoJ report
  383     12/13/2012 Email; Report Coverage           USA-REL-0973088-    No Objection
                                                      0973090
  384     12/13/2012 Email; Report Coverage           USA-REL-0367672-    No Objection
                                                      0367676
  385     12/13/2012 Email; Press contact for         USA-REL-0106944-    No Objection
                     Ukraine/MoJ report               0106945
  386     12/13/2012 Email; URGENT -                  USA-REL-0029988-    No Objection
                     corruption allegation            0029989
  387     12/13/2012 Email; Legal Times /             USA-REL-0160532     No Objection
                     National Law Journal
  388     12/13/2012 Email; Media Inquiry re          USA-REL-0030309-    No Objection
                     MOJ FW: Kommersant               0030310
                     Ukraine
  389     12/13/2012 Email; Copy of                   USA-REL-0194993     No Objection
                     Tymoshenko report and
                     interview?

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Exhibit #    Date            Description               Bates Number      Objection
  390     12/13/2012 Email; On Behalf of Greg      USA-REL-0153606    No Objection
                     Craig - The Tymoshenko
                     Case
  391     12/13/2012 Email; Legal Times            USA-REL-0160133    No Objection
  392     12/13/2012 Email; Media Inquiry re       USA-REL-0030300-   No Objection
                     MOJ FW: Kommersant            0030302
                     Ukraine
  393     12/13/2012 Email; The Tymoshenko         USA-REL-0029994    No Objection
                     Case
  394     12/13/2012 Email; Well Done              USA-REL-0193998    Hearsay,
                                                                      Completeness
  395     12/13/2012 Email; On Behalf of Greg      USA-REL-0160125-   No Objection
                     Craig - The Tymoshenko        0160127
                     Case
  396     12/13/2012 Email; Ukraine Report in      USA-REL-0191899    No Objection
                     the Press
  397     12/13/2012 Email; Well Done              USA-REL-0020151    Hearsay
  398     12/14/2012 Email; Former Ukrainian       USA-REL-0160459-   No Objection
                     leader's trial was fair but   0160460
                     flawed
  399     12/14/2012 Tymoshenko Report - NLJ       USA-REL-0195644    No Objection
  400     12/14/2012 Email; Matthew Huisman        USA-REL-0195662    No Objection
                     should be calling Greg
                     shortly
  401     12/14/2012 Email; Draft for your         USA-REL-0160442-   No Objection
                     comments                      0160443
  402     12/15/2012 Email; SA Report - Media      USA-REL-0007945-   Hearsay, FRE
                     Update                        0007948            401, FRE 403
  403     12/13/2012 New York Times article



  410     12/22/2012 Email; Subject: Request for   USA-REL-020130     No Objection
                     information from DOJ re
                     Tymoshenko trial review
  411      1/4/2013 Email; Subject: Draft          USA-REL-0304585-   No Objection
                     answers to (3) and (4)        0304586
  412      1/4/2013 Email; Subject: Re:            USA-REL-0304587-   No Objection
                     Request for informaiton       0304589
                     from DOJ re Tymoshenko
                     trial review
  413      1/5/2013 Email; Subject: Re:            USA-REL-0304597-   No Objection
                     Request for informaiton       0304599
                     from DOJ re Tymoshenko
                     trial review

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Exhibit #       Date            Description                Bates Number          Objection
  414         1/7/2013   Email; Not so fast           USA-REL-0201043         No Objection
  415        1/14/2013   Email; Subject: Revision     USA-REL-0304626-        No Objection
                                                      0304627
  416        1/16/2013   Email; Subject: RE:          USA-REL-0245660-        FRE 401, FRE
                         Skadden named as doing       0245661                 403
                         PR work for party of the
                         regions
  417        1/16/2013   Email; Subject: Re:          USA-REL-0304633(email   No Objection
                         Ukraine: See attached        only)
                         response to DOJ for your
                         review
  418        2/6/2013    Email; Subject: Re: FARA     USA-REL-0304655         No Objection
                         Response
  419        2/7/2013    Email; Subject: Re: Letter   USA-REL-0201123-        No Objection
                         from Gregory B. Craig        0201124
  420        2/7/2013    Email; Subject: FW: Greg's   USA-REL-0201127-        No Objection
                         letter to Justice            0201131
  421        3/13/2013   Email; Subject: RE: News     USA-REL-0303321-        MIL
                         article re contracts         0303323                 Procurement,
                                                                              Hearsay
  422        4/4/2013    Email; Subject:              USA-REL-0304734         No Objection
                         Responding to FARA letter
                         re Ukraine
  425        4/15/2013   Email; Subject: RE: Are      USA-REL-0201242         No Objection
                         you here?
  426        4/22/2013   Email; Subject: RE: News     USA-REL-0155404-        No Objection
                         articles about Ukraine       0155409
                         Report
  427        4/29/2013   Email; Subject: Draft        USA-REL-0304736-        No Objection
                         response to FARA inquiry     0304737
  428        5/1/2013    Email; Subject: Next draft- USA-REL-0304738-         No Objection
                         -with some embellishments 0304740
  429        5/1/2013    Email; Tweaks                USA-REL-0340523-        No Objection
                                                      0340524
  430        5/1/2013    Email; Subject: please put   USA-REL-0339232-        No Objection
                         in final form for my         0339235
                         signature
  431        5/15/2013   Email; Subject: updated      USA-REL-0304755-        No Objection
                         response to FARA             0304758
  432        5/17/2013   Email; Re: Can we talk?      USA-REL-0159211         No Objection
  433        5/20/2013   Email; Subject: FW:          USA-REL-0304778-        No Objection
                         updated response to FARA     0304781



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Exhibit #       Date              Description              Bates Number      Objection
  434        5/20/2013   Email; Subject: FW: Next     USA-REL-0304775-    No Objection
                         draft -- with some           0304777
                         embellishments
  435        5/20/2013   Email; Subject: Change-      USA-REL-0304770-    No Objection
                         Pro Redline - Response to    0304774
                         FARA Inquiry 1249781
                         v1. and Response to
                         Inquiry (revised) 1248782
                         v1.
  436        5/20/2013   Email; Subject: latest       USA-REL-0339236-    No Objection
                         document                     0339237
  437        5/20/2013   Email; Subject: Change-      USA-REL-0337011-    No Objection
                         Pro Redline - Respose to     0337015
                         Inquiry (revised) 1249782
                         v. 1. and Revised Response
                         (2nd Round) 1249802) v.1
  438        5/20/2012   Email; Subject: Change-      USA-REL-0337006-    No Objection
                         Pro Redline - Response to    0337010
                         FARA Inquiry 1249781
                         v1. Revised Response (2nd
                         Round) 1249802 v1
  439        5/20/2012   Email; Subject: Fara         USA-REL-0304759-    No Objection
                         Response                     0304763
  440        5/20/2012   Email; Subject: Change-      USA-REL-0337001-    No Objection
                         Pro Redline - Response to    0337005
                         FARA Inquiry 1249781
                         v1. and Response to FARA
                         Inquiry (most current
                         version) 1249835 v1.
  441        5/22/2013   Email; Re: Call              USA-REL-0159212     No Objection
  442        5/28/2012   Email; Subject: FW:          USA-REL-0304796-    No Objection
                         Scanned Documents            0304799
  443        5/28/2013   Email; Subject: RE:          USA-REL-0304800     No Objection
                         Scanned Documents
  444        5/28/2013   Email; Subject: FW:          USA-REL-0304801     No Objection
                         Scanned Documents
  445        5/29/2013   Email; Subject: FW: Letter   USA-REL-0304827-    No Objection
                         to DOJ                       0304830
  446        5/29/2013   Email; Subject: RE: Letter   USA-REL-0304822     No Objection
                         to DOJ
  447        5/29/2013   Email; Subject: RE: Letter   USA-REL-0304821     No Objection
                         to DOJ
  448        5/29/2013   Email; Subject: Fw: Letter   USA-REL-0304812-    No Objection
                         to DOJ                       0304815


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Exhibit #       Date            Description                  Bates Number      Objection
  449        5/29/2013   Email; Just got home            USA-REL-0194053    FRE 401, FRE
                                                                            403
  450        5/31/2013   Email; Subject: FW:             USA-REL-0304846-   No Objection
                         FARA Response                   0304847
  451        6/3/2013    Email; put in final form        USA-REL-0340518-   No Objection
                                                         0340522
  452                    Document History Report         UAS-REL-0337527    Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
  453                    Document History Report         USA-REL-0337530    Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
  454                    Document History Report         USA-REL-0337532    Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
  455                    Document History Report         USA-REL-0337536-   Lacks
                                                         0337537            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
  456                    Document History Report         USA-REL-0337539    Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403
  457                    Document History Report         USA-REL-0337527    Lacks
                                                                            Foundation,
                                                                            Hearsay, FRE
                                                                            401, FRE 403


  460        9/11/2013   Email; Subject: FARA            USA-REL-0304851-   No Objection
                         reply                           0304853
  461        9/11/2013   Email; Subject: FW:             USA-REL-0201243-   No Objection
                         FARA Reply                      0201245
  462        9/12/2013   Email; Subject: Fwd:            USA-REL-0304859    No Objection
                         FARA Reply
  463        9/12/2013   Email; Subject: Re: FARA        USA-REL-0304854    No Objection
                         Reply
  464        9/19/2013   Email; Subject: RE: FARA        USA-REL-0304864    No Objection
                         reply
  465                    [intentionally blank]                              No Objection


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Exhibit #       Date             Description              Bates Number      Objection
  466        9/19/2013   Email; Subject: FW:          USA-REL-0337016    No Objection
                         FARA
  467                    [intentionally blank]                           No Objection
  468        9/20/2013   Email; Subject: FW: First    USA-REL-0304865-   No Objection
                         draft of a response to       0304868
                         FARA
  469                    [intentionally blank]                           No Objection
  470        9/24/2013   Draft Response to FARA       USA-REL-0201350-   No Objection
                                                      0201352
  471        9/25/2013   Email; Subject: Re: Alex     USA-REL-0304870    No Objection
                         Mudd - DOJ - 202-233-
                         0777
  472        10/8/2013   Email; Subject: FW:          USA-REL-0303713-   No Objection
                         FARA letter                  0303715
  473        10/8/2013   Email; Subject: FW:          USA-REL-0303717    No Objection
                         FARA letter
  474       10/10/2013   Email; Subject: RE: One      GBC 001            No Objection
                         page FARA letter
  475       10/15/2013   Email; Subject: FW: On       USA-REL-0160840-   No Objection
                         Behalf of Greg Craig - The   0160841
                         Tymoshenko Case
  476       10/15/2013   Email; Subject: FW:          USA-REL-0201299-   No Objection
                         FINAL letter to H Hunt re    0201301
                         FARA
  477        11/5/2013   Skadden bill for services    USA-REL-0000215-   No Objection
                         rendered through             0000216
                         September 30, 2013
  478       11/21/2013   Skadden bill for services    USA-REL0000217-    No Objection
                         rendered through October     0000219
                         31, 2013
  479        Multiple    Skadden Client Escrow        USA-REL-0000231-   No Objection
                         Account # 15662391 for       0000263
                         Douglas E. Schoen NYC,
                         LLC
  480        1/27/2014   Email; Subject: FW:          USA-REL-0303825-   No Objection
                         FARA letter from DOJ         0303826


                         HARD COPY
                         DOCUMENTS
  500          ND        Multi-page document with     USA-REL-0339091-   No Objection
                         header: Project Veritas      0339104
                         Communications Strategy


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Exhibit #      Date               Description                Bates Number      Objection
  501        5/4/2012    Email; Craig to Whitney;       USA-REL-0338993-    No Objection
                         Subj: Tymo                     0338996
  502        5/4/2012    Email; Craig to Whitney;       USA-REL-0338997-    No Objection
                         Subj: PR Update                0339007
  503        7/27/2012   Memorandum from PJM to         USA-REL-0337749-    No Objection
                         SL; Subj: SA Report -          0337765
                         Media Plan
  504        8/7/2012    Email; Van der Zwaan to        USA-REL-0339014-    No Objection
                         Craig; Subj: Tymo report -     0339015
                         action points and questions
  505        8/30/2012   Email; Hawker to               USA-REL-0339016     No Objection
                         kk22314@gmail.com;
                         Subj: Confidential: Report
                         and the media
  506       12/12/2012   Article; Failings Found in     USA-REL-0339017-    No Objection
                         Trial of Ukrainian Ex-         0339019
                         Premier, The New York
                         Times
  507       12/12/2012   Email; Craig to Sanger;        USA-REL-0339020     No Objection
                         Subj: Release time
  508       12/12/2012   Email; Craig to Sanger;        USA-REL-0339021     No Objection
                         Subj: quote re political
                         motivation
  509       12/12/2012   Email; Craig to Sanger;        USA-REL-0339022     No Objection
                         Subj: Ukraine
  510       12/13/2012   Article; Ukraine               USA-REL-0339165     No Objection
                         lawmakers brawl; report
                         finds Tymoshenko trial
                         flawed
  511       12/13/2012   Email; Craig to Haskell;       USA-REL-0339023-    No Objection
                         Subj; On Behalf of Greg        0339024
                         Craig - The Tymoshenko
                         Case
  512       12/14/2012   Email; Craig to Haskell        USA-REL-0339025-    No Objection
                         and Sloan; Subj: Former        0339026
                         Ukrainian leader's trial was
                         fair but flawed
  513       12/19/2012   Article; A Misguided           USA-REL-0339166-    FRE 401, FRE
                         Report on the Tymoshenko       0339168             403, Hearsay
                         Case; Freedom House
  514        4/22/2013   Email; Craig to Weiss;         USA-REL-0339034-    No Objection
                         Subj: News articles about      0339037
                         Ukraine report



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Exhibit #       Date           Description                  Bates Number      Objection
  515        4/22/2013 Email; Craig to Weiss;          USA-REL-0339038-    No Objection
                       Subj: News articles about       0339042
                       Ukraine report
  516        4/29/2013 Email; Craig to Weiss;          USA-REL-0339043-    No Objection
                       Subj: Legal Times /             0339045
                       National Law Journal
  517            ND    One-page document with          USA-REL-0339029     No Objection
                       header: Response to April
                       9, 2013 Letter from
                       National Security Division,
                       US Department of Justice
  518        5/20/2013 One-page document with          USA-REL-0339030-    No Objection
                       header: Response to April       0339033
                       9, 2013 Letter from
                       National Security Division,
                       US Department of Justice
  519        5/28/2013 Letter; Craig to Hunt; Subj:    USA-REL-0339046-    No Objection
                       Response to April 9, 2013       0339049
                       Letter from National
                       Security Division, US
                       Department of Justice
  520         6/3/2013 Letter; Craig to Hunt; Subj:    USA-REL-0339050-    No Objection
                       Response to April 9, 2013       0339058
                       Letter from National
                       Security Division, US
                       Department of Justice
  521        9/24/2013 Draft of Letter to FARA         USA-REL-0339059-    No Objection
                       Division in the Department      0339061
                       of Justice
  522        10/8/2013 Printout from website,          USA-REL-0339169-    No Objection
                       www.fara.gov                    0339177
  523        10/8/2013 Printout from website,          USA-REL-0339178-    No Objection
                       www.fara.gov                    0339179
  524       10/10/2013 Letter; Craig to Hunt; Subj:    USA-REL-0339062-    No Objection
                       FARA Registration               0339063
  525        3/28/2012   Skadden New Client or         USA-REL-0338196-    No Objection
                         Business Unit                 0338201
                         Memorandum, signed by
                         Gregory Craig
  526        4/3/2012    Itinerary / DC - NYC,         USA-REL-0339155-    FRE 401, FRE
                         April 3 - 9, 2012             0339156             403
  527        4/5/2012    Letter from Craig to          USA-REL-0338949-    No Objection
                         Ministry of Justice; Subj:    0338955
                         Retainer Memorandum

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Exhibit #       Date             Description                Bates Number      Objection
  528        4/10/2012   Letter from Craig to          USA-REL-0338963-    FRE 401, FRE
                         Ministry of Justice; Subj:    0338969             403, Hearsay,
                         Retainer Memorandum                               Foundation
  529          ND        Two-page note on              USA-REL-0338918-    No Objection
                         stationery of                 0338919
                         Intercontinental Hotel,
                         Ukraine
  530          ND        One-page note on              USA-REL-0338406     No Objection
                         stationery of Hyatt
                         Regency Kyiv
  531          ND        One-page of handwritten       USA-REL-0338904     No Objection
                         notes with header:
                         Manafort telcon
  532        4/16/2012   Three-page document with      USA-REL-0338979-    No Objection
                         header: Themes for            0338981
                         Opening Statement
  533          ND        Seven-pages of                USA-REL-0338920-    No Objection
                         handwritten notes             0338926
  534        4/30/2012   Project Kyiv: Status Report   USA-REL-0338982     No Objection
  535         5/2/2012   Invitation to team call for   USA-REL-0338983     FRE 401, FRE
                         Skadden personnel                                 403
  536        9/8/2012    One-page of handwritten       USA-REL-0338913     No Objection
                         notes with header Telcon
                         w/ Vlasenko
  537          ND        Multi-page document;          USA-REL-0027599-    No objection if
                         Comments on the Report        0027608             split into three
                         and handwritten comments                          separate
                                                                           documents.
  538          ND        One-page document with        USA-REL-0337196     Authenticity,
                         header: Final Three                               Handwriting,
                         Tweaks and handwritten                            FRE 401, FRE
                         comments                                          403
  539          ND        Binder with draft of          USA-REL-0337540-    Authenticity,
                         Report, The Tymoshenko        0337717             FRE 401, FRE
                         Case and handwritten                              403
                         comments
  540          ND        Multi-page document with      USA-REL-0338933-    Completeness
                         cover sheet entry:            0338948
                         Comments from OGP +
                         Oval Office
  541          ND        Multi-page document with      USA-REL-0339065-    No Objection
                         header: Final Additional      0339071
                         Arguments on the Draft
                         Report

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Exhibit #      Date              Description                 Bates Number      Objection
  542          ND        Multi-page document with       USA-REL-0339082-    No Objection
                         header: Suggestions to the     0339090
                         Complete Draft Report
  543          ND        Multi-page document with       USA-REL-0339105-    No Objection
                         header: Suggestions to the     0339123
                         Complete Draft Report
  544          ND        Multi-page document            USA-REL-0339124-    No Objection
                         addressed to "Greg" re:        0339127
                         changes requested in the
                         memo that you received
                         last week
  545          ND        Multi-page document with       USA-REL-0339139-    No Objection
                         header: Final Three            0339144
                         Tweaks
  546          ND        Multi-page document with       USA-REL-0339148-    No Objection
                         header: Additional             0339154
                         Comments to Conclusions
  547        4/12/2012   Bank Record from Marfin        USA-REL-0337809     FRE 401, FRE
                         Laiki Bank                                         403
  548          ND        Multi-page document re:        USA-REL-0237377-    MIL
                         July 16, 2012, Letter from     0237382             Procurement
                         Craig to Ministry of Justice
                         of Ukraine
  549          ND        Collection of documents        USA-REL-0237383-    MIL
                         re: Backup bill to MOJ-        0237409             Procurement
                         Ukraine
  550        4/22/2013   Collection of documents        USA-REL-0337768-    MIL
                         re: Payment from Ukraine       0337780             Procurement



                         FINANCIAL
                         DOCUMENTS
  560        3/20/2012   Check from Douglas E.          USA-REL-0000220     No Objection
                         Schoen NYC LLC payable
                         to Skadden Arps in amount
                         of $150,000
  561        4/19/2012   Transaction Detail Advice      USA-REL-0000223     No Objection
                         Inquiry
  562        5/2/2012    Skadden bill for services      USA-REL-0000121-    No Objection
                         rendered rendered through      0000123
                         March 2012
  563        5/18/2012   Skadden bill for services      USA-REL-0000124-    No Objection
                         rendered through April 30,     0000134
                         2012

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Exhibit #       Date             Description                 Bates Number      Objection
  564        5/20/2012   Transaction Detail Advice       USA-REL-0000224    No Objection
                         Inquiry
  565        5/22/2012   Email; Letter to Vlasenko       USA-REL-0170204-   No Objection
                         and Ms. Tymoshenko              0170206
                         delivered
  566        5/26/2012   Email; Tymoshenko case          USA-REL-0049961-   Completeness
                                                         0049962
  567        5/28/2012   Email; Draft response to        USA-REL-0049945-   Completeness
                         Vlasenko's email                0049947
  568        6/22/2012   Email; [blank]                  USA-REL-0180870-   No Objection
                                                         0180872
  569        6/22/2012   Email; Lavrinovich hired        USA-REL-0180868    Hearsay, FRE
                         Skadden for less than 13                           401, FRE 403
                         000 USD
  570        6/22/2012   Email; RAPSI.com: U.S.          USA-REL-0000915    FRE 401, FRE
                         attorneys in ECHR under                            403
                         Tymoshenko case to cost
                         Ukraine $12,5
  571        6/22/2012   Email; Heads up                 USA-REL-0008538    No Objection
  572        6/22/2012   Email; [cyrillic]               USA-REL-0000913    FRE 401, FRE
                                                                            403
  573        6/26/2012   Skadden bill for services       USA-REL-0000135-   No Objection
                         rendered through May 31,        0000152
                         2012
  574        7/13/2012   Transaction Detail Advice       USA-REL-0000225    No Objection
                         Inquiry
  575        7/24/2012   Skadden bill for services       USA-REL-0000153-   No Objection
                         rendered through June 30,       0000172
                         2012
  576        8/9/2012    Email; Kyiv Post Editorial:     USA-REL-0136202    No Objection
                         Skadden Stink
  577        8/9/2012    Email; Kyiv Post Editorial:     USA-REL-0176348-   Completeness
                         Skadden Stink                   0176350
  578        8/10/2012   Email; Update                   USA-REL-0001233    No Objection
  579        8/10/2012   Email; Ukraine payment          USA-REL-0185163    No Objection
  580        8/13/2012   Email; this mornin              USA-REL-0001236    No Objection
  581        8/15/2012   Email; updates                  USA-REL-0001247-   MIL
                                                         0001248            Procurement
  582        8/15/2012   Email; Procedure for            USA-REL-0001246    MIL
                         Supplemental Payments                              Procurement
  583        8/16/2012   Email; updates                  USA-REL-0001253-   MIL
                                                         0001255            Procurement



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Exhibit #       Date            Description                  Bates Number      Objection
  584        8/20/2012   Skadden bill for services      USA-REL-0000173-    No Objection
                         rendered through July 31,      0000189
                         2012
  585        8/20/2012   Email; Letter to MOJ           USA-REL-0001265     MIL
                                                                            Procurement
  586        8/22/2012 Letter; Outstanding              USA-REL-0000190-    MIL
                       Balance Due                      0000191             Procurement
  587        8/23/2012 Email; SK Letter to              USA-REL-0005669     MIL
                       MOJ.pdf                                              Procurement
  588        11/2/2012 Skadden bill for services        USA-REL-0000192-    No Objection
                       rendered through August          0000198
                       31, 2012
  589        11/2/2012 Email; Ukraine                   USA-REL-0193953     No Objection
  590       12/21/2012 Email; Quick Meeting             USA-REL-0159075     MIL
                                                                            Procurement
  591       12/26/2012 Email; CATCH UP                  USA-REL-0194010     MIL
                                                                            Procurement
  592       12/28/2012 Email; CATCH UP                  USSA-REL-0159078-   MIL
                                                        0159079             Procurement
  593        1/4/2013    Letter; Invoice for services   USA-REL-0339263-    No Objection
                         rendered through January       0339272
                         4, 2013
  594        1/8/2013    Email; Meeting Tomorrow        USA-REL-0020240     MIL
                                                                            Procurement
  595        2/5/2013    Email; Paperwork               USA-REL-0020244     MIL
                                                                            Procurement
  596        2/8/2013    Email; Question from MOJ       USA-REL-0007981-    MIL
                                                        0007987             Procurement;
                                                                            Completeness
  597        2/8/2013    Email; Question from MOJ       USA-REL-0107944-    MIL
                                                        0107945             Procurement
  598        2/15/2013   Email; New Contract            USA-REL-0107995-    MIL
                                                        0107997             Procurement
  599        2/19/2013   Email; Comments on MOJ         USA-REL-0195961-    MIL
                         contract                       0195962             Procurement;
                                                                            Completeness
  600        2/19/2013   Email; Meeting on              USA-REL-0020324-    MIL
                         Wednesday                      0020331             Procurement
  601        2/20/2013   Skadden bill for services      USA-REL-0000199-    No Objection
                         rendered from September        0000208
                         1, 2012 through December
                         31, 2012
  602        2/25/2013   Email; Skadden EL              USA-REL-0303503-    MIL
                                                        0303511             Procurement

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Exhibit #       Date            Description                 Bates Number          Objection
  603        2/25/2013   Email; Skadden EL              USA-REL-0196056        MIL
                                                                               Procurement;
                                                                               Completeness
  604        2/26/2013   Email; The new agreement       USA-REL-0027444-       MIL
                                                        0027445                Procurement
  605        3/13/2013   Email; congratulations         USA-REL-0196573        MIL
                                                                               Procurement
  606        3/13/2013   Email; Inquiries re Ukraine    USA-REL-0196574        MIL
                         contract                                              Procurement
  607        3/14/2013   Email; MOJ EL and              USA-REL-0196587-USA-
                         Skadden EL                     REL-0196600
  608        3/19/2013   Email; Ukraine acctg           USA-REL-0196659        MIL
                                                                               Procurement
  609        3/20/2013   Email; Ukraine accounting      USA-REL-0196660        MIL
                                                                               Procurement;
                                                                               Completeness
  610                    [intentionally blank]
  611        3/25/2013   Email; final bill to Ukraine                          MIL
                                                        USA-REL-0155401        Procurement
  612        4/12/2013   Email; Docs                    USA-REL-0236825-       MIL
                                                        0236828                Procurement
  613        4/23/2013   Email; Table Estimate          USA-REL-0197078-       MIL
                                                        0197081                Procurement
  614        6/24/2013 Skadden bill for services        USA-REL-0000210-       No Objection
                       rendered through June 24,        0000213
                       2012
  615         8/1/2013 Skadden bill for services        USA-REL-0000214        No Objection
                       recorded through July 31,
                       2013
  616        11/5/2013 Skadden bill for services        USA-REL-0000215-       No Objection
                       rendered through                 0000216
                       September 30, 2013
  617       11/21/2013 Skadden bill for services        USA-REL-0000217-       No Objection
                       rendered through October         0000219
                       31, 2013
  618         Multiple Skadden Client Escrow            USA-REL-0000231-       No Objection
                       Account # 15662391 for           0000263
                       Douglas E. Schoen NYC,
                       LLC
  619        6/14/2017 Letter; Liquidation, Wire        USA-REL-0000228        No Objection
                       Transfer and Account
                       Closing



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Exhibit #       Date            Description               Bates Number     Objection
  625        2/23/2018   Document; Gates Plea         USA-0020755        No Objection
                         Agreement
  626        2/23/2018   Document; Gates              USA-0020756-763    No Objection
                         Statement of Offense

                         PHOTOGRAPHS
  650                    Ken Gross                    USA-00022232       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  651                    Greg Craig                   USA-00022228       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  652                    Cliff Sloan                  USA-00022229       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  653                    Michael Loucks               USA-00022235       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  654                    Matt Cowie                   USA-00022236       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  655                    Alex Van Der Zwaan           USA-00022234       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  656                    Alex Haskell                 USA-00022230       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  657                    Allon Kedem                  USA-00022231       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  658                    [intentionally blank]                           F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  659                    Sergiy Vlasenko              USA-00022225       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  660                    Paul Manafort                USA-00022226       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation
  661                    Rick Gates                   USA-00022227       F.R.E. 401;
                                                                         F.R.E. 403;
                                                                         Lacks foundation




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Exhibit #      Date          Description                Bates Number      Objection
  662                  Konstantin Kilimnik          USA-00022240       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  663                  Rinat Kuzmin                 USA-00022222       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  664                  Doug Schoen                  USA-00022224       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  665                  Viktor Pinchuk               USA-00022223       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  666                  Segiy Lyovovhkin             USA-00022221       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  667                  Viktor Yanukovych            USA-00022217       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  668                  Yulia Tymoshenko             USA-00022216       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  669                  Oleksandr Lavrinovich        USA-00022220       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  670                  Viktor Psonka                USA-00022219       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  671                  Lawrence Spiegel             USA-00022233       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  672                  Jonathan Hawker              USA-00022237       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation
  673                  Group Photograph             USA-00022241       F.R.E. 401;
                                                                       F.R.E. 403;
                                                                       Lacks foundation

                       MAPS OF UKRAINE
  675                  Google map                   USA-00022238       No Objection
  676                  Google map - Ukraine         USA-00022239       No Objection
                       outlined
  677                  Map of Ukraine               USA-00022214       No Objection
  678                  Central and Eastern Europe   USA-00022215       No Objection


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